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 1   ROBERT J. PETERS, ESQ.
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 2   716 19TH STREET, SUITE 200
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 3   TELEPHONE NO: 916-442-1806

 4   Attorney for Defendant Leo Torres

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 7
                  IN THE UNITED STATES DISTRICT COURT
 8
                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA, ) NO. CR.S-07-248 WBS
10                             )
                    Plaintiff, ) REQUEST FOR ORDER AND
11                             ) ORDER EXONERATING
                               ) BONDS AND RECONVEYING
12   LEO TORRES, et al,        ) REAL PROPERTY
                               )
13                  Defendants.)
                               )_
14   __________________________)

15         The following bonds were posted to secure defendant’s

16   release in the above case:

17             a) A $50,000.00 appearance bond filed July 19,

18   2007, secured by a deed of trust on the property located at

19   55 Geil St., Salinas, CA 93901, the residence of defendant’s

20   sister and brother-in-law;

21             b) An unsecured appearance bond in the amount of

22   $100,000.00, signed by the defendant, his wife, his sister,

23   and his brother-in-law.

24        On April 13, 2009, upon his plea of guilty to a

25   superceding indictment, defendant was sentenced to a term of




                                     (1)
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 1   four years imprisonment (Document #393).       On May 26, 2009,

 2   the judgment was executed when the defendant entered the

 3   Federal Correctional Institute, Seagoville, TX, to commence

 4   serving his term (Document #405).

 5         THEREFORE, IT IS HEREBY REQUESTED that the $100,000

 6   unsecured appearance bond and the $50,000 secured appearance

 7   bond be exonerated and that the Clerk of the Court be

 8   directed to reconvey all right, title, and interest in the

 9   property located at 55 Geil St., Salinas, CA 93901, posted

10   as security in this case.

11
     DATED: June 6, 2009                   /s/ Robert J. Peters
12                                         Robert J. Peters
                                           Attorney for Defendant
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                                     (2)
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 1                               O R D E R

 2

 3        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED:

 4        The $100,000 unsecured appearance bond and the $50,000

 5   appearance bond secured by the real property located at 55

 6   Geil St., Salinas, CA 93901, posted as security in this case

 7   are exonerated.

 8        The Clerk of the Eastern District of California is

 9   directed to reconvey all right, title, and interest in the

10   above property.

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     DATED:_June 10, 2009
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